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In the Gnited States Court of Federal Clanns FILE
(Filed: September 8, 2017)

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JIG ICIS GIO AGICI IOI I aK Ak ak ok ke ick -EDERAL CLAIMS
CARLY MARIE MORTON,
Plaintiff,
Vv.

THE UNITED STATES,

Defendant.

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ORDER OF DISMISSAL

On July 14, 2017, the Plaintiff, Carly Marie Morton, acting pro se, filed a Complaint
claiming that she was a candidate for United States President in the 2016 election and did not
receive any consideration from the electors as they “did not know [she] was a candidate to be
considered for the position.” Compl. at § 4. The Complaint maintains that she reported election
fraud to law enforcement. The Complaint then states that since the President took office while
her complaint with law enforcement was pending, she is entitled to the President’s
compensation. /d. Plaintiff bases her claim on Article III Section 2 of the US Constitution and
alleges that “{she] do[es] not have a job because of thieves.” Jd.

Before reaching the merits of Plaintiff’s claim, this Court must first ascertain whether it
has jurisdiction under the Tucker Act to consider it. “Not every claim invoking the Constitution,
a federal statute, or a regulation is cognizable under the Tucker Act. The claim must be one for
money damages against the United States... .” United States v. Mitchell, 463 U.S. 206, 216
(1983). Article III Section 2 to the US Constitution, which generally defines the judicial power
of the United States, is not a money mandating source of rights providing a basis for jurisdiction
in this Court under the Tucker Act. See Canuto v. United States, 651 F. App'x 996, 997 (Fed.
Cir. 2016) (holding that Article III language is not a money mandating source of rights).
Therefore, this complaint shall be DISMISSED sua sponte pursuant to RCFC 12(h)(3) and for
lack of jurisdiction pursuant to RCFC 12(b)(1).

The Clerk is directed to enter judgment accordingly.

IT IS SO ORDERED. ob ~ me .
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EDWARD F-DAMICH
Senior Judge

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